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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------x
 SIMON J. BURCHETT PHOTOGRAPGHY,
 INC.,                                                             Case No.: 19-cv-1576 (KPF)

                                    Plaintiff,
                                                                  PLAINTIFF’S NOTICE OF
                         v.                                       VOLUNTARY DISMISSAL WITH
                                                                  PREJUDICE PURSUANT TO
                                                                  FED.R.CIV.P 41(a)(2)

  A.P. MOLLER MAERSK A/S,

                                     Defendant.
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        Pursuant to Fed.R.Civ.P 41 (a)(2) plaintiff hereby serves notice that the claim of

copyright infringement pursuant to 17. U.S.C. §§ 102 et seq. (the “Copyright Act”) in the above-

action is dismissed with prejudice, and the claim brought pursuant to 17 U.S.C. §§ 1202-05 (the

“DMCA”) is dismissed without prejudice. Each party is responsible for its own attorneys’ fees

and costs.




                                                           _______________ ___________________
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                                                           Attorneys for Plaintiff


SO ORDERED

__________________________
Honorable Katherine Polk Failla
United States District Judge
